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                               UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MASSACHUSETTS
                                       EASTERN DIVISION


In re                                                          Chapter 7

NATIONAL FISH & SEAFOOD, INC. 1                                Case No. __________

                       Debtor.


       GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY,
      AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
          AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The above-captioned debtor (the “Debtor”), with the assistance of counsel, has prepared
its respective schedules of assets and liabilities (the “Schedules”) and statement of financial
affairs (the “SOFA”) pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”). These Global Notes and Statement of Limitations, Methodology, and
Disclaimers Regarding the Debtor’s Schedules and SOFA (the “Global Notes”) are incorporated
by reference in, and comprise an integral part of, the Schedules and SOFA, and should be
referred to and reviewed in connection with any review of the Schedules and SOFA. 2

       The Schedules and SOFA are unaudited. While the Debtor’s management has made
reasonable efforts to ensure that the Schedules and SOFA are accurate and complete based on
information that was available to them at the time of preparation, subsequent information or
discovery may result in material changes to the Schedules and SOFA, and inadvertent errors or
omissions may exist in the Schedules and SOFA. Moreover, because the Schedules and SOFA
contain unaudited information that is subject to further review and potential adjustment, there
can be no assurance that the Schedules and SOFA are wholly accurate and complete.

                                Global Notes for the Schedules and SOFA

            1.   Basis of Presentation. The Schedules and SOFA reflect the assets and liabilities
    of the Debtor based on its unaudited accounting records. The aggregate asset values and claim
    amounts set forth in the Schedules and SOFA do not purport to represent financial statements
    prepared in accordance with the Generally Accepted Accounting Principles (“GAAP”), nor are
    they intended to reconcile to any financial statements prepared by the Debtor.




1
  The Debtor in this chapter 7 case is National Fish and Seafood, Inc. (tax ID XX-XXXXXXX). The Debtor’s service
address is 11-15 Parker Street, Gloucester, Massachusetts 01930.
2
    These Global Notes are in addition to any specific notes contained in the Schedules and SOFA.
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          2.    Article 9 Sale of Substantially All Assets. On May 22, 2019, pursuant to a
  Secured Party Bill of Sale, Assignment and Assumption Agreement, and Trademark
  Assignment by and between Coöperative Rabobank U.A. (formerly known as Coöperative
  Centrale Raiffesien Boerenlennbank B.A.), Hong Kong Bank (“Assignor” or “Rabobank”) as
  secured party seller of certain collateral of the Debtor and NSD Seafood Inc., a Massachusetts
  corporation having an address at 159 East Main Street, Gloucester, MA 01930 (“Buyer”),
  substantially all of the Debtor’s inventory, equipment, intellectual property, office furniture
  and electronics, accounts receivable, and leasehold interest in 159 East Main Street,
  Gloucester, were transferred to Buyer, in exchange for Buyer’s cash payment of $3,000,000,
  less adjustments agreed to at the closing, to Assignor (the “Article 9 Sale”). Items excluded
  from the Article 9 Sale included personal property leased from third parties or subject to a
  purchase money security interest, cash, insurance policies, claims for tax refunds, and
  commercial tort claims. The Article 9 Sale was conducted pursuant to Section 9-610 of the
  Uniform Commercial Code in effect in the Commonwealth of Massachusetts. Reflective of the
  Article 9 Sale, the Debtor has listed its few remaining assets on Schedule A/B and has
  appended copies of the Article 9 Sale documents and itemized schedules of the property sold to
  the Buyer in response to Question 5 on the SOFA.

         3.    National Fish and Seafood LTD. In the late 1990s, Pacific Andes International
  Holdings (Bermuda) (“PAIH”) obtained a controlling 60% stake in the Debtor through a
  wholly-owned subsidiary, Peaksville Limited (UK). Shortly thereafter, the Debtor entered into
  a banking relationship with Rabobank. Rabobank provided one or more deposit accounts and
  borrowing facilities to the Debtor from its Hong Kong Branch (the “Rabobank Facility”). In
  connection with the Rabobank Facility, National Fish and Seafood Limited (“NFS LTD”), a
  business entity organized under the laws of Hong Kong, was established as the borrower under
  the Rabobank Facility. NFS LTD is a subsidiary of the Debtor. 3 NFS LTD is the nominal
  owner of the Rabobank accounts disclosed on Schedule A/B.

        The Rabobank Facility provided liquidity to the Debtor. Rabobank would advance funds
  to an NFS LTD account on a weekly basis against accounts receivable that the Debtor
  generated by sales of its seafood products. At the request of the Debtor, funds would be
  transferred from the NFS LTD account to operating accounts maintained by the Debtor in the
  United States. Collections from accounts receivable generated by the Debtor were deposited
  into a lockbox account in the United States and periodically “swept” by Rabobank into an NFS
  LTD account at Rabobank in Hong Kong. In connection with these practices, NFS LTD was
  sometimes listed as the customer on purchase orders for inventory issued by the Debtor and as
  the payee on invoices generated by the Debtor for its seafood products. Notwithstanding these
  references to NFS LTD, to the Debtor’s knowledge, NFS LTD has never had employees, has
  conducted no business, and its accounts were consolidated with the Debtor’s books and
  records. The Debtor has taken the position that all the cash in Rabobank accounts, and all
  assets, are property of the Debtor and has disclosed them accordingly in the Schedules and
  SOFA.

3 NFS LTD’s most recent Annual Return filed in Hong Kong discloses that one share of the company is held by the
Debtor and one share is held by Pacific Andes International Holdings (BVI) Limited (“PAIH BVI”). The Debtor
understands that PAIH BVI may hold this share in trust for the Debtor in accordance with Hong Kong corporate
law, but the Debtor has been unable to identify trust documents reflecting this relationship.



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        4.    The Pacific Andes Claims. On June 30, 2016, PAIH and several of its affiliates
filed petitions for relief under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of New York. On January 17, 2019, the Debtor
filed two proofs of claim against PAIH and a co-debtor for not less than $30,812,495.76 (the
“Pacific Andes Claims”). Presently, the Pacific Andes Claims are the subject of a motion to
allow late-filed claims pending in the bankruptcy case. See Case No. 16-11895; Docket No.
1439. On May 23, 2019, the Debtor assigned the Pacific Andes Claims to Rabobank in
exchange for a $7.5 million reduction of the Rabobank debt. This transaction is disclosed in
the supplement to Question 5 of the SOFA.

         5.     Assumptions and Reservation of Rights. The preparation of the Schedules and
SOFA required the Debtor to make assumptions that affect the reported amounts of assets and
liabilities, the disclosures of contingent assets and liabilities on the date of the Schedules and
SOFA, and the reported amounts of revenues and expenses during the reporting period. The
claims of individual creditors are listed by the amounts entered on the Debtor’s books and
records and may not reflect credits or allowances due from such creditors to the Debtor.

       6.    Contracts and Leases. Although the Debtor’s management relied upon existing
books, records, and financial systems to identify and schedule executory contracts and
unexpired leases and diligent efforts have been made to ensure the accuracy of Schedule G,
inadvertent errors, omissions, or over-inclusion may have occurred.

         7.    Current Market Value of Assets/Unknown Liability Amounts. Where
available, the Debtor has used the fair market value for its assets. Some of the scheduled
liabilities are unknown and unliquidated at this time. In such, cases the amounts are listed as
“Unknown.” Accordingly, the Schedules and SOFA may not accurately reflect the aggregate
amount of the Debtor’s liabilities.

        8.    Contingent Assets. As discussed further below, the Debtor believes it possesses
certain contingent claims, causes of action, or avoidance actions against various third parties.
Despite reasonable efforts, the Debtor may not have set forth all of its causes of action against
third parties as assets in the Schedules and SOFA.

        9.    Insiders. In the circumstances where the Schedules or SOFA require information
regarding insiders and/or officers and directors, included therein are the Debtor’s (a) directors
(or persons in similar positions) and (b) employees that are, or were during the relevant period,
officers (or persons in control).

       10. Pre-Petition Payments. In response to Part 2, Questions 3 and 4 on the SOFA,
the Debtor has provided detailed information on payments that it made to creditors within 90
days prior to May 15, 2019 and to insiders within 1 year of May 13, 2019. The Debtor has
made additional payments to certain insiders and possibly some creditors between the dates
reported in the SOFA and May 29, 2019, which payments are reflected in the Debtor’s bank
records.

       11. WARN Payments. On May 10, 2019, the Debtor ceased operations and
terminated the majority of its employees. The Debtor retained several employees through May


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23-24, 2019, which employees were terminated once the Article 9 Sale closed. In connection
with these layoffs, the Debtor paid these former employees wages and compensation in
compliance with applicable law, including the Worker Adjustment and Retraining Notification
Act (“WARN”). The Debtor has not listed these WARN payments in response to Question 3
of the SOFA.

         12. Disclosure of Financial Statements. In response to Part 13, Question 26d on the
SOFA, the Debtor has reported issuing financial statements to Pacific Andes and Rabobank
within two years of the petition date. The Debtor also made financial statements and other
information available to potential buyers in connection with an investment banking process to
sell its business as a going concern.

                                           ***

                         * * * END OF GLOBAL NOTES * * *

     * * * SCHEDULES AND SOFA BEGIN ON THE FOLLOWING PAGE * * *




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     May 29, 2019
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 Fill in this information to identify the case:

 Debtor name            National Fish and Seafood Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        2,667,057.92

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        2,667,057.92


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      64,128,841.20


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $        7,363,885.29

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        8,988,149.11


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        80,480,875.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         National Fish and Seafood Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                                $0.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                                                                            Lock Box Collection
            3.1.    Royal Bank of Canada                                    Account                      0592                                    $9,831.51



                                                                            Checking Account
            3.2.    Santander Bank N.A.                                     (Payroll)                    6029                                  $15,683.22




            3.3.    Santander Bank N.A.                                     Operating Account            6061                                  $27,926.33



                                                                            Lock Box Collection
            3.4.    Santander Bank N.A.                                     Account                      6206                                           $0.00



                                                                            Money Market Escrow
            3.5.    Santander Bank N.A.                                     Account for USDC Bond        1382                                  $10,031.00




            3.6.    Santander Bank N.A.                                     Checking Account             0611                                           $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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                   Name

                                                                            Lock Box Collection
                                                                            Account for Gloucester
            3.7.     Santander Bank N.A.                                    Cold Storage                     7974                       $0.00




            3.8.     Standard Charter                                                                        3806                       $0.00




            3.9.     Standard Charter                                                                        1119                       $0.00



            3.10                                                            Hong Kong Currency
            .    Cooperative Rabobank A.U.                                  Account                          0001                       $0.00



            3.11
            .    Cooperative Rabobank A.U.                                                                   0101                  $5,100.00



            3.12                                                            Primary Collections
            .    Cooperative Rabobank A.U.                                  Account                          0111                 $18,267.09



            3.13
            .    Cooperative Rabobank A.U.                                  Transfer Account                 0112                  $4,244.54



            3.14
            .    Cooperative Rabobank A.U.                                  Letter of Credit Account         0191                 $25,210.81



 4.         Other cash equivalents (Identify all)
                     Several post-dated checks drawn on the Chase checking account of customer, Dagim
            4.1.     Tahorim Co., Inc. representing payments on goods received.                                                   $74,334.61




            4.2.     Checks from the State of Ohio totalling for tax refunds for the years 2017 and 2018                           $2,743.98




 5.         Total of Part 1.                                                                                                $193,373.09
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     Retainer with K&L Gates LLP                                                                                   $6,667.45

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 2
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 Debtor            National Fish and Seafood Inc.                                            Case number (If known)
                   Name




            7.2.     Retainer with Proskauer Rose LLP                                                                                       $9,972.00


                     Bond for License as a Public Warehousemen
                     Paid to Hon. Deborah B. Goldberg, Treasurer and Receiver General of the
            7.3.     Commonwealth of Massachusetts                                                                                        $10,000.00




            7.4.     Retainer with Getzler Henrich & Associates LLC                                                                         Unknown



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Ipswich Country Club Membership                                                                                      $26,500.00



                     Security Deposit paid to One Kondelin Road Realty Trust c/o Stavros Agganis, 394
            8.2.     Lincoln Avenue, Saugus, MA 01906 in connection with lease of One Kondelin Road.                                      $15,925.00



                     Prepayment of rent paid to One Kondelin Road Realty Trust c/o Stavros Agganis, 394
            8.3.     Lincoln Avenue, Saugus, MA 01906 in connection with lease of One Kondelin Road.                                        $9,545.83




            8.4.     Deposit paid Head of the Harbor Realty Trust                                                                         $25,074.55


                     Cash collateral held by Rabobank to secure letters of credit issued in favor of
                     Washington International Insurance Company and American Alternative Insurance
            8.5.     Company for surety bonds posted to secure customs duties.                                                         $2,300,000.00




 9.         Total of Part 2.                                                                                                       $2,403,684.83
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                     Valuation method used      Current value of
                                                                                                     for current value          debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                Name

           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     National Fish and Seafood Limited (HK)                         100           %   Liquidation                                  $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.                                                                                                                   $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of       Valuation method used      Current value of
                                                                              debtor's interest       for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           LED Lighting                                                                   Unknown     Cost                                 $70,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                               $70,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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                Name


            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See attached supplement                                           Unknown                                              Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See attached supplement                                                     Unknown                                              Unknown



 51.       Total of Part 8.                                                                                                                  $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used     Current value of
           property                                       extent of           debtor's interest      for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 11-15 Parker Street,
                     Gloucester, MA
                     01930                                Lease                        Unknown                                              Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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                Name

            55.2.
                     1 Kondelin Road,
                     Glucester, MA 01930                  Lease                        Unknown                                       Unknown




 56.        Total of Part 9.                                                                                                            $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

            See attached summary of insurance policies                                                                               Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Claims against former directors and officers, including
            but not limited to claims against Jack Ventola, Michael
            Bruno, and Richard Pandolfo.                                                                                             Unknown
            Nature of claim          Breach of fiduciary duties,
                                     fraud, conversion of property
            Amount requested                              $0.00



 76.        Trusts, equitable or future interests in property

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 6
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                Name

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                         $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 7
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $193,373.09

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $2,403,684.83

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $70,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,667,057.92            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,667,057.92




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
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                               Schedule A/B Supplement

Part 8

Question 47: Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

                                     Leased Vehicles

 Description                           Lessor

 Toyota RAV4                           Toyota Financial Services

 Toyota Tundra                         Toyota Financial Services



Question 50: Other machinery, fixtures, and equipment

                                    Leased Equipment

 Description       Lessor                              Serial Number   Model

 Yale Forklift     Wells Fargo Bank, N.A.              C815N06789D     2006 NR040

 Yale Forklift     Wells Fargo Bank, N.A.              B890N01912E     2007 MPE080

 Yale Forklift     Wells Fargo Bank, N.A.              R883N02276K     2011 ESC30

 Yale Forklift     Wells Fargo Bank, N.A.              B883N02097J     2012 ESC30

 Crown Forklift    Wells Fargo Bank, N.A.              1A373537        RR5725-35

 Crown Forklift    Wells Fargo Bank, N.A.              1A428244        RR5725-45

 Crown Forklift    Wells Fargo Bank, N.A.              1A428243        RR5725-45

 Raymond Reach     Raymond Leasing Corporation         EZ-10-DD50395   R30TT 36V
 Forklift

 Raymond Reach     Raymond Leasing Corporation         EZ-10-DD50396   R30TT 36V
 Forklift

 Raymond Reach     Raymond Leasing Corporation         EZ-12-DF51705   R40TT 36V
 Forklift

 Enersys Battery   Raymond Leasing Corporation         RLC772870       18-125-13

 Enersys Battery   Raymond Leasing Corporation         RLC772848       18-125-13
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Description       Lessor                        Serial Number   Model

Enersys Battery   Raymond Leasing Corporation   MLH1138820      18-125-13

Enersys Charger   Raymond Leasing Corporation   HPI975357       36 V/3 Phase

Enersys Charger   Raymond Leasing Corporation   HPI975282       36 V/3 Phase

Enersys Charger   Raymond Leasing Corporation   FPI195048       36 V/3 Phase
                                                                                                      Schedule A/B Supplement
Desc Main




                                           Part 8
                                           Question 73: Interests in insurance policies or annuities
                                            Coverage                                               Agent           Insurer                     Policy No.       Period
Filed 05/29/19 Entered 05/29/19 17:48:15




                                            Directors and Officers Liability; Employment           USI Insurance   Admiral Insurance Company   DCP1706575P1     11/18/18-11/18/19
                                            Practices Liability; Fiduciary Liability; Commercial   Norwalk
                                            Crime
                                            Directors and Officers Liability Excess Policy         USI Insurance   XL Specialty                ELU15884118      11/18/18-11/18/19
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                                                                                                   Norwalk
                                            Directors and Officers Liability Excess Policy –       USI Insurance   Evanston                    MKLV4MXM000003   11/18/18-11/18/19
                                            Side A                                                 Norwalk
                                            Directors and Officers Liability Tail Policy           USI Insurance   RSUI Indemnity Company      NHS674201        11/18/18 - 11/18/21
                                                                                                   Services LLC
 Document




                                            Directors and Officers Liability Tail Policy           USI Insurance   Hiscox Insurance Company    UVA180916017     11/18/18 - 11/18/21
                                                                                                   Services LLC    Inc.
                                            Directors and Officers Liability Tail Policy           USI Insurance   Allied World National       03103714         11/18/18 - 11/18/21
                                                                                                   Services LLC    Assurance Company
Doc 3




                                            Commercial Umbrella                                    USI Insurance   Hanover                     UHE 8967916      1/1/19 - 1/1/20
                                                                                                   Services
                                            Commercial Package                                     USI Insurance   Hanover                     ZDE 8987380      1/1/19 - 1/1/20
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                                                                                                   Services
                                            Cargo                                                  USI Insurance   Lloyd’s of London           MA183078         2/1/19 - 2/1/20
                                                                                                   Services
                                           Coverage            Agent           Insurer                      Policy No.       Period
Desc Main




                                           Product Liability   USI Insurance   Allied World Surplus         03101706         6/1/18 -6/1/19
                                                               Services
                                           Commercial Auto     USI Insurance   Selective Insurance Co. of   A9105146         4/20/19 - 4/20/20
                                                               Services        SC
Filed 05/29/19 Entered 05/29/19 17:48:15




                                           Liability           USI Insurance   Travelers                    0105808623       5/5/18-7/5/18 (not
                                                               Services                                                      renewed)
                                           ERISA Crime         USI Insurance   Travelers                    SAAE3936790000   11/18/2018-11/18/19
                                                               Norwalk
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                  Case 19-11824                    Doc 3         Filed 05/29/19 Entered 05/29/19 17:48:15                              Desc Main
                                                                  Document     Page 19 of 77
 Fill in this information to identify the case:

 Debtor name          National Fish and Seafood Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Ascentium Capital LLC                         Describe debtor's property that is subject to a lien                  $40,671.00                        $0.00
        Creditor's Name                               LED lighting financed under Agreement No.
                                                      2287245
        23970 HWY 59 N
        Kingwood, TX 77339
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        May 11, 2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Ascentium Capital LLC                         Describe debtor's property that is subject to a lien                  $40,671.00               $70,000.00
        Creditor's Name                               LED Lighting
        23970 HWY 59 N
        Kingwood, TX 77339
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security Interest
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        May 11, 2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7245
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
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 Debtor       National Fish and Seafood Inc.                                                           Case number (if know)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Cooperative Rabobank
 2.3                                                                                                                     $64,027,499.20           $0.00
       U.A., Hong Kong                                Describe debtor's property that is subject to a lien
       Creditor's Name                                All assets
       245 Park Avenue
       New York, NY 10036
       Creditor's mailing address                     Describe the lien
                                                      All asset lien arising under Letter of Credit
                                                      Facility
       salvatore.esposito@raboba                      Is the creditor an insider or related party?
       nk.com                                          No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       November 30, 2015                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.
                                                       Disputed


       Raymond Leasing
 2.4                                                                                                                              $0.00           $0.00
       Corporation                                    Describe debtor's property that is subject to a lien
       Creditor's Name                                All equipment acquired by Debtor in
                                                      accorance with Master Lease Schedule No.
       22 South Canal Street                          34139
       Greene, NY 13778
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       April 23, 2018                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Robert Reiser & Co., Inc.                      Describe debtor's property that is subject to a lien                     Unknown      Unknown
       Creditor's Name                                One Fabbri Model 55 PLUS Packaging
                                                      Machine
       725 Deham Street
       Canton, MA 02021
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 5
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 Debtor       National Fish and Seafood Inc.                                                           Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       March 6, 2015                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   Sysco Boston LLC                               Describe debtor's property that is subject to a lien                          $0.00           $0.00
       Creditor's Name                                All assets
       99 Spring Street
       Plympton, MA 02367
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       June 12, 2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       Travelers Casualty and
 2.7                                                                                                                           $10,000.00     $10,031.00
       Surety Company                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Santander Bank N.A. - Money Market Escrow
                                                      Account for USDC Bond - Acct# 1382
       One Tower Square
       Hartford, CT 06183
       Creditor's mailing address                     Describe the lien
                                                      Cash collateral to secure bond in favor of
                                                      National Oceanic & Atmospheric Adm.
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       05/01/19                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6431
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 5
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 Debtor       National Fish and Seafood Inc.                                                           Case number (if know)
              Name



       Travelers Casualty and
 2.8                                                                                                                           $10,000.00     $10,000.00
       Surety Company                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                Cash collateral to secure bond issued by
                                                      Travelers in favor of the National Oceanic &
       One Tower Square                               Atmospheric Administration
       Hartford, CT 06183
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       05/01/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3431
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.9   Wells Fargo Bank N.A.                          Describe debtor's property that is subject to a lien                          $0.00           $0.00
       Creditor's Name                                Four Yale forklifts S/N C815N06789D, S/N
       300 Tri-State International                    B883N02097J, S/N R883N02276K, S/N
       Suite 400                                      B890N01912E
       Lincolnshire, IL 60069
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       February 13, 2018                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     Wells Fargo Bank N.A.                          Describe debtor's property that is subject to a lien                          $0.00           $0.00
       Creditor's Name                                Three Crown Reach Trucks SN 1A373537,
       300 Tri-State International                    1A428244, and 1A428243
       Suite 400
       Lincolnshire, IL 60069
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 5
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 Debtor       National Fish and Seafood Inc.                                                           Case number (if know)
              Name

       March 2, 2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7453
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                               $64,128,841.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         20

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Cooperative Rabobank U.A.
        Attn: Janet Ong                                                                                        Line   2.3
        32/F Three Pacific Place
        1 Queen's Road East
        Hong Kong

        CT Corporation, as representative
        330 N. Brand Blvd.                                                                                     Line   2.1
        Suite 700, Attn: SPRS
        Glendale, CA 91203

        Matthew O'Donnell
        Luskin, Stern & Eisler LLP                                                                             Line   2.3
        Eleven Times Square
        New York, NY 10036




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 5
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                                                                  Document     Page 24 of 77
 Fill in this information to identify the case:

 Debtor name         National Fish and Seafood Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,589.60        $863.20
           ASTRO CHEMICALS                                           Check all that apply.
           126 MEMORIAL DRIVE                                         Contingent
           Springfield, MA 01102                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $543.07        $192.97
           BENS WALLPAPER & PAINT CO                                 Check all that apply.
           6 RAILROAD AVE                                             Contingent
           Gloucester, MA 01930                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 43
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                 Case 19-11824                    Doc 3          Filed 05/29/19 Entered 05/29/19 17:48:15                                Desc Main
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 Debtor       National Fish and Seafood Inc.                                                                  Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $830.00     $310.00
          CAPE POND ICE CO., INC                                     Check all that apply.
          P.O. BOX 440                                                Contingent
          Gloucester, MA 01930                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $117,519.56    $50,617.36
          CATANIA SPAGNA                                             Check all that apply.
          PO BOX J                                                    Contingent
          1 NEMCO WAY                                                 Unliquidated
          Ayer, MA 01432                                              Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $15,741.00    $15,741.00
          CHANNEL FISH PROCESSING INC.                               Check all that apply.
          P.O. BOX 847109                                             Contingent
          Boston, MA 02284-7109                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $13,173.61    $1,686.26
          CINTAS #016                                                Check all that apply.
          P.O. BOX 630803                                             Contingent
          LOCATION 016                                                Unliquidated
          Cincinnati, OH 45263-0803                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 43
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 Debtor       National Fish and Seafood Inc.                                                                  Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $5,652.54    $210.38
          CINTAS FIRST AID & SAFETY                                  Check all that apply.
          LOCATION # 779                                              Contingent
          P.O. BOX 636525                                             Unliquidated
          Cincinnati, OH 45263-6525                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $28,993.30    $15,814.76
          EBP SUPPLY SOLUTIONS INC.                                  Check all that apply.
          200 RESEARCH DRIVE                                          Contingent
          Milford, CT 06460                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $104,262.40    $23,778.08
          ESSEX FOOD INGREDIENTS                                     Check all that apply.
          PO BOX 824208                                               Contingent
          Philadelphia, PA 19182-4208                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $28,345.72    $3,235.12
          FASTENAL COMPANY                                           Check all that apply.
          PO Box 1286                                                 Contingent
          Winona, MN 55987-1286                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $16,328.00    $5,824.00
          FOLENE PACKAGING LLC                                       Check all that apply.
          PO BOX 300965                                               Contingent
          MIDWOOD, NY 11230                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $75,468.64    $39,726.82
          GOAL LINE FOODS, LLC                                       Check all that apply.
          203 JACKSON STREET #204                                     Contingent
          Anoka, MN 55303                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $990,209.81    $988,920.50
          GORTON'S OF GLOUCESTER                                     Check all that apply.
          128 ROGERS ST                                               Contingent
          Gloucester, MA 01930                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $24,680.73    $7,820.20
          GREENWAY MARKETING &                                       Check all that apply.
          PACKAGING                                                   Contingent
          P.O. BOX 700                                                Unliquidated
          Sunapee, NH 03782                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $93,164.99    $10,421.19
          HUB FOLDING BOX CO INC.                                    Check all that apply.
          774 NORFOLK STREET                                          Contingent
          Mansfield, MA 02048                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $520.51     $107.74
          INDUSTRIAL TIRE SALES, INC                                 Check all that apply.
          7 GRANT AVE                                                 Contingent
          Burlington, MA 01803-2192                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $57,140.60    $13,166.40
          INNOVATIVE PLASTICS CORP.                                  Check all that apply.
          400 ROUTE 303                                               Contingent
          Orangeburg, NY 10962                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $10,930.64    $3,092.15
          JERGENS INC                                                Check all that apply.
          P.O. BOX 931344                                             Contingent
          Cleveland, OH 44193                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $22,121.31    $2,427.52
          MCMASTER CARR SUPPLY                                       Check all that apply.
          COMPANY                                                     Contingent
          P. O. BOX 7690                                              Unliquidated
          Chicago, IL 60680-7690                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $43,395.15    $11,000.72
          MOTION INDUSTRIES INC                                      Check all that apply.
          P.O. BOX 415749                                             Contingent
          Boston, MA 02241                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $847.30     $847.30
          NEOGEN CORPORATION                                         Check all that apply.
          25153 NETWORK PLACE                                         Contingent
          Chicago, IL 60673-1251                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $135,832.34    $53,385.27
          NEWLY WEDS FOODS, INC.                                     Check all that apply.
          70-80 GROVE ST                                              Contingent
          Watertown, MA 02472                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $50,064.30    $32,303.70
          NORTHERN OCEAN MARINE INC                                  Check all that apply.
          7 PARKER STREET                                             Contingent
          Gloucester, MA 01930                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $38,368.92    $2,081.84
          OXFORD GRAPHICS                                            Check all that apply.
          PO BOX 1000                                                 Contingent
          DEPT #0114                                                  Unliquidated
          Memphis, TN 38148-0114                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,193.30    $5,193.30
          PRESSED PAPERBOARD TECH                                    Check all that apply.
          30400 TELEGRAPH RD, SUITE 385                               Contingent
          Franklin, MI 48025                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $15,650.90    $3,164.50
          PROGRESS PALLET INC.                                       Check all that apply.
          98 WEST GROVE STREET                                        Contingent
          Middleboro, MA 02346                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,896.52    $658.74
          RAQUE FOOD SYSTEMS, INC                                    Check all that apply.
          11002 DECIMAL DR                                            Contingent
          P.O. BOX 99594                                              Unliquidated
          Louisville, KY 40269-0594                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,377.30    $1,950.00
          RISO PRODUCTS OF BOSTON                                    Check all that apply.
          P.O. BOX 843001                                             Contingent
          Boston, MA 02284-3001                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $481.65     $238.96
          ROSE'S OIL SERVICE INC                                     Check all that apply.
          375 MAIN ST                                                 Contingent
          P.O. BOX 1346                                               Unliquidated
          Gloucester, MA 01930                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $18,762.35    $7,601.13
          SEABOARD FOLDING BOX CO                                    Check all that apply.
          INC                                                         Contingent
          PO BOX 650                                                  Unliquidated
          Westminster, MA 01473                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $6,136.16     $206.94
          SMITH HARDWARE & LUMBER                                    Check all that apply.
          HOMETOWN ACE HARDWARE                                       Contingent
          P.O. BOX 119                                                Unliquidated
          Rockport, MA 01966                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $2,059.41     $1,371.94
          SPX FLOW TECHNOLOGY                                        Check all that apply.
          P.O. BOX 277886                                             Contingent
          Atlanta, GA 30384-7886                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $6,524.20     $300.84
          STANDARD ELECTRIC SUPPLY                                   Check all that apply.
          CO                                                          Contingent
          P.O. BOX 788666                                             Unliquidated
          Philadelphia, PA 19178-8500                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.34                                                                                                                                                   $3,394,604.
          Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $5,214,127.17    48
          U.S. CUSTOMS AND BORDER                                    Check all that apply.
          PROTECTION                                                  Contingent
          P.O. BOX 979126                                             Unliquidated
          Saint Louis, MO 63197-9000                                  Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 2.35       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                       $187,668.77          $41,407.16
            UNICORR / CONNECTICUT                                    Check all that apply.
            CONTAINE                                                  Contingent
            4282 PAYSPHERE CIRCLE                                     Unliquidated
            Chicago, IL 60674                                         Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.36       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $2,235.20         $2,235.20
            VERITIV OPERATING CO.                                    Check all that apply.
            DBA UNISOURCE                                             Contingent
            7472 COLLECTIONS CENTER                                   Unliquidated
            DRIVE                                                     Disputed
            Chicago, IL 60693
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.37       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $11,893.55         $3,554.60
            VERITIV OPERATING CO.                                    Check all that apply.
            DBA XPEDX                                                 Contingent
            PO BOX 644520                                             Unliquidated
            Pittsburgh, PA 15264-4520                                 Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes

 2.38       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $8,154.77         $1,391.13
            WIRE BELT CO. OF AMERICA                                 Check all that apply.
            P.O. BOX 845214                                           Contingent
            Boston, MA 02284-5214                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (2)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $98,164.90
          A & V TEMPS, INC.                                                   Contingent
          210 BROADWAY                                                        Unliquidated
          Chelsea, MA 02150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,063.05
          A-C MOTOR EXPRESS, LLC                                              Contingent
          339-C BLISS STREET                                                  Unliquidated
          West Springfield, MA 01089                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,553.22
          A.B.J. EQUIPFIX, LLC                                                Contingent
          202 W. LUCAS ST                                                     Unliquidated
          Castalia, OH 44824                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,954.87
          ABEL WOMACK, INC                                                    Contingent
          ONE INTERNATIONAL WAY                                               Unliquidated
          Lawrence, MA 01843                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $147.00
          ACA FREIGHT FORWARDING INC.                                         Contingent
          324 BRYANT AVE                                                      Unliquidated
          Bronx, NY 10474-7113                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,225.05
          ACOSTA SALES & MARKETING                                            Contingent
          PO BOX 281996                                                       Unliquidated
          Atlanta, GA 30384-1996                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,021.00
          ADVANTAGE SALES & MARKETING                                         Contingent
          DBA BEM SALES & MARKETING                                           Unliquidated
          PO BOX 744443                                                       Disputed
          Atlanta, GA 30374-4443
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,154.60
          AGRESOURCE                                                          Contingent
          110 BOXFORD ROAD                                                    Unliquidated
          Rowley, MA 01969                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,179.55
          ALL AMERICAN POLY                                                   Contingent
          P.O. BOX 10148                                                      Unliquidated
          New Brunswick, NJ 08906                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,575.48
          ALPHA CHEMICAL SERVICES INC                                         Contingent
          P.O. BOX 431                                                        Unliquidated
          Stoughton, MA 02072                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,714.29
          AMERICA'S LOGISTICS LLC                                             Contingent
          39170 TREASURY CENTER                                               Unliquidated
          Chicago, IL 60694-9100                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          AMERICAN EXPRESS                                                    Contingent
          P.O. BOX 1270                                                       Unliquidated
          Newark, NJ 07101-1270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,148.14
          AMERICAN INSULATED                                                  Contingent
          PANEL COMPANY, INC.                                                 Unliquidated
          75 JOHN HANCOCK ROAD                                                Disputed
          Taunton, MA 02780
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,821.30
          AMERICAN LAZER SERVICES INC                                         Contingent
          P.O. BOX 376                                                        Unliquidated
          Beverly, MA 01915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,014.15
          AMERICAN PATRIOT SALES                                              Contingent
          60 CENTRAL STREET                                                   Unliquidated
          Norwood, MA 02062                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $105,745.47
          AMERICAN REFRIGERATION                                              Contingent
          149 RIVER STREET                                                    Unliquidated
          SUITE 3                                                             Disputed
          Andover, MA 01810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          AMERICOLD LOGISTICS, INC.                                           Contingent
          P.O. BOX 505339                                                     Unliquidated
          Saint Louis, MO 63150-5339                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,600.00
          ANALYTICAL TESTING LAB INC                                          Contingent
          345 TRAPELO ROAD                                                    Unliquidated
          Belmont, MA 02478                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,601.73
          ANKURA CONSULTING GROUP, LLC                                        Contingent
          PO BOX 74007043                                                     Unliquidated
          Chicago, IL 60674-7043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,510.00
          APL                                                                 Contingent
          ATTN: FREIGHT CASHIER                                               Unliquidated
          116 INVERNESS DR EAST, SUITE 4                                      Disputed
          Englewood, CO 80112
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,760.00
          AQUA ROYALE FOODS, INC                                              Contingent
          197 W. SPRING VALLEY AVE                                            Unliquidated
          Maywood, NJ 07607                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,127.50
          ARCTIC FRESH SEAFOOD LLC                                            Contingent
          10 UNION WHARF                                                      Unliquidated
          Fairhaven, MA 02719                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,104.51
          ARROW PAPER CORP                                                    Contingent
          228 ANDOVER ST                                                      Unliquidated
          Wilmington, MA 01887                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $250.90
          BATSON & ASSOCIATES, LLC                                            Contingent
          THE CARLIN GROUP                                                    Unliquidated
          4845 CORPORATE EXCH BLVD SE                                         Disputed
          Grand Rapids, MI 49512
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $334.56
          BATTERY SHOP OF N. E. INC                                           Contingent
          40 SILVA LANE                                                       Unliquidated
          Dracut, MA 01826                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $52.00
          BIOMARINE INC                                                       Contingent
          16 EAST MAIN STREET                                                 Unliquidated
          Gloucester, MA 01931-1153                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $412.80
          BOYER'S FOOD MARKETS, INC.                                          Contingent
          1165 CENTRE TURNPIKE-POB 249                                        Unliquidated
          Orwigsburg, PA 17961-0249                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          BUCKEYE BUSINESS PRODUCTS                                           Contingent
          P.O. BOX 392340                                                     Unliquidated
          Cleveland, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,296.00
          BUTLER-DEARDEN PAPER SERVICE                                        Contingent
          80 SHREWSBURY STREET                                                Unliquidated
          Boylston, MA 01505-1669                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $510.00
          CAPE ANN CHAMBER OF COMMERCE                                        Contingent
          33 COMMERCIAL STREET                                                Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,536.00
          CAPE ANN LIFT TRUCKS, INC                                           Contingent
          48 HARRISON AVE                                                     Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,071.53
          CARUS CORPORATION                                                   Contingent
          15111 COLLECTIONS CENTER DR                                         Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,656.26
          CASCADE WATER SERVICES, INC                                         Contingent
          113 BLOOMINGDALE ROAD                                               Unliquidated
          Hicksville, NY 11801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $48,360.00
          CENSEA, INC                                                         Contingent
          400 SKOKIE BLVD                                                     Unliquidated
          SUITE 110                                                           Disputed
          Northbrook, IL 60062
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,660.00
          CHARM SCIENCES, INC                                                 Contingent
          659 ANDOVER STREET                                                  Unliquidated
          Lawrence, MA 01843-1032                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,381.25
          CITRIX SYSTEMS INC                                                  Contingent
          P.O. BOX 931686                                                     Unliquidated
          Atlanta, GA 31193-1686                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $227,096.74
          CITY OF GLOUCESTER                                                  Contingent
          P.O. BOX 773                                                        Unliquidated
          Reading, MA 01867-0405                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $88,900.00
          COASTAL CORPORATION LTD
          COASTAL ANDHRA REGION, #17, NH16                                    Contingent
          COASTAL ANDHRA REGION,                                              Unliquidated
          MADHURAWADA                                                         Disputed
          VISAKHAPATNAM AP 530048, INDIA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,103.16
          COLMAR BELTING COMPANY, INC                                         Contingent
          66 Holton Street                                                    Unliquidated
          Woburn, MA 01801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $716.70
          COMCAST                                                             Contingent
          PO BOX 70219                                                        Unliquidated
          Philadelphia, PA 19176-0219                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          COMMONWEALTH OF MASSACHUSETTS
          DEPARTMENT OF PUBLIC HEALTH                                         Contingent
          DIVISION OF FOOD AND DRUGS                                          Unliquidated
          305 SOUTH STREET                                                    Disputed
          Jamaica Plain, MA 02130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,083.71
          CONSOLIDATED PACKAGING GROUP                                        Contingent
          30 BERGEN TURNPIKE                                                  Unliquidated
          Ridgefield Park, NJ 07660                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,011.71
          CROWN LIFT TRUCKS                                                   Contingent
          P.O. BOX 641173                                                     Unliquidated
          Cincinnati, OH 45264-1173                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $319.20
          CRUISE MARKETING IA                                                 Contingent
          5512 NE 17TH STREET                                                 Unliquidated
          Des Moines, IA 50313                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $158.00
          CRUISE MARKETING MO                                                 Contingent
          5512 NE 17TH STREET                                                 Unliquidated
          Des Moines, IA 50313                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $100.00
          CRUISE MARKETING NE                                                 Contingent
          5512 NE 17TH STREET                                                 Unliquidated
          Des Moines, IA 50313                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,419,372.00
          Crustrade PTE LTD
          Kurt S. Olson                                                       Contingent
          Olson & Olson P.A.                                                  Unliquidated
          500 Federal Street                                                  Disputed
          Andover, MA 01810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,295.00
          CT CORPORATION SYSTEMS                                              Contingent
          P.O. BOX 4349                                                       Unliquidated
          Carol Stream, IL 60197-4349                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,690.00
          CUSTOM SEASONINGS INC                                               Contingent
          12 HERITAGE WAY                                                     Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,132.31
          D & H MARKETING, INC.                                               Contingent
          PO BOX 1229                                                         Unliquidated
          Burgaw, NC 28425                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,384.06
          DAILY PRINTING, INC.                                                Contingent
          25 WEST STREET                                                      Unliquidated
          Beverly, MA 01915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,370.95
          DAVE'S FRESH MARKETPLACE                                            Contingent
          1000 division street suite 20                                       Unliquidated
          East Greenwich, RI 02818                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,264.00
          DAVID VENTOLA                                                       Contingent
          1580 HILLVIEW DR                                                    Unliquidated
          Sarasota, FL 34239                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $39,216.87
          DEE & L, LLC                                                        Contingent
          PO BOX 3431                                                         Unliquidated
          Bayonne, NJ 07002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $260.08
          DELTA BLUE AQUACULTURE PARTNER                                      Contingent
          1360 SOUTH REDWOOD RD                                               Unliquidated
          SUITE 210                                                           Disputed
          Salt Lake City, UT 84104
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $218.71
          DELTA TRAK                                                          Contingent
          P.O. BOX 4115                                                       Unliquidated
          Modesto, CA 95352                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,308.79
          DHL EXPRESS (USA), INC                                              Contingent
          16592 COLLECTIONS CENTER DRIVE                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $42,555.52
          DIRECT ENERGY BUSINESS                                              Contingent
          P.O. BOX 32179                                                      Unliquidated
          New York, NY 10087-2179                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,100.00
          E CRUZ ELECTRIC INC.                                                Contingent
          9 LIMEWOODS DR.                                                     Unliquidated
          Saugus, MA 01906                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $143.82
          EAN SERVICES LLC                                                    Contingent
          SERVICING NATIONAL CAR RENTAL                                       Unliquidated
          P.O. BOX 402383                                                     Disputed
          Atlanta, GA 30384-2383
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $125.00
          EARLS LOCK SHOP                                                     Contingent
          P.O. BOX 28                                                         Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          ECIC                                                                Contingent
          Credit Insurance                                                    Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $943,413.97
          EDA, INC.                                                           Contingent
          P.O. BOX 328                                                        Unliquidated
          Mansfield, MA 02048                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $95.84
          ELECTRIC SUPPLY CENTER                                              Contingent
          200 MIDDLESEX TURNPIKE                                              Unliquidated
          Burlington, MA 01803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $166,012.00
          ELM CITY CHEESE CO. INC                                             Contingent
          2240 STATE STREET                                                   Unliquidated
          Hamden, CT 06517                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,925.00
          EMPIRE MARKETING STRATEGIES                                         Contingent
          11243 CORNELL PARK DRIVE                                            Unliquidated
          Cincinnati, OH 45242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,064.00
          ENDICO POTATOES INC                                                 Contingent
          160 NORTH MACQUESTEN PARKWAY                                        Unliquidated
          Mount Vernon, NY 10550                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $229,906.78
          ENGIE RESOURCES                                                     Contingent
          P.O. BOX 9001025                                                    Unliquidated
          Louisville, KY 40290-1025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,825.00
          EQUATOR - DESIGN US, INC.
          CIVIC OPERA BUILDING                                                Contingent
          20 N. WACKER DRIVE                                                  Unliquidated
          STE 2200                                                            Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,235.68
          ESSEX SERVICE COMPANY INC                                           Contingent
          P.O. BOX 83                                                         Unliquidated
          Essex, MA 01929                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $216,720.00
          EVERGREEN AQUATIC PRODUCTS
          SCIENCE AND TECHNOLOGY CO LTD                                       Contingent
          NORTHERN RUIYUN ROAD                                                Unliquidated
          MAZHANG ECONOMIC DEVELOPMENT                                        Disputed
          ZHANJIANG CITY, GUAO, NY 11111
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,125.00
          F. MURPHY & SONS CLEAN CO INC                                       Contingent
          23 CRANBERRY LANE                                                   Unliquidated
          Middleton, MA 01949                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,144.34
          F. W. WEBB                                                          Contingent
          160 MIDDLESEX TURNPIKE                                              Unliquidated
          Bedford, MA 01730                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,617.80
          FAVORITE BROKERS                                                    Contingent
          508 NORTH AVENUE                                                    Unliquidated
          New Rochelle, NY 10801                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,002.91
          FEDERAL EXPRESS CORPORATION                                         Contingent
          P.O. BOX 371461                                                     Unliquidated
          Pittsburgh, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,161.41
          FIVE STAR KOSHER LLC                                                Contingent
          1085 EAST 3RD STREET                                                Unliquidated
          Brooklyn, NY 11230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          FLS TRANSPORTATION
          SERVICES, INC                                                       Contingent
          400 Ste-Croix Avenue                                                Unliquidated
          H4N 3L4                                                             Disputed
          MONTREAL, QC
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,539.95
          FOX TRUCKING INC                                                    Contingent
          29920 DOVER ROAD                                                    Unliquidated
          Easton, MD 21601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,648.00
          FPS FOOD PROCESS SOLUTIONS COR
          7431 NELSON ROAD                                                    Contingent
          UNIT 130                                                            Unliquidated
          RICHMOND, BRITISH COLUMBIA VGW1G3                                   Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $369.90
          FREEZE PAK STORAGE                                                  Contingent
          760B PORT CARTERET DRIVE                                            Unliquidated
          Carteret, NJ 07008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,113.63
          FREUND'S FISH MARKET
          13TH AVENUE FISH MARKET                                             Contingent
          4301 15TH AVENUE                                                    Unliquidated
          BROOKLYN, NY 11219                                                  Disputed
          Brooklyn, NY 11219
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $435.00
          FROMMELT DOCK & DOOR, INC                                           Contingent
          184 MAIN ST                                                         Unliquidated
          NO. READING, MA 01968                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,750.00
          FSE, INC.                                                           Contingent
          PO BOX 95026                                                        Unliquidated
          Chicago, IL 60694-5026                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,583.40
          GEA REFRIGERATION                                                   Contingent
          NORTH AMERICA, INC                                                  Unliquidated
          P. O. BOX 13383                                                     Disputed
          Newark, NJ 07101-3383
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,805.00
          GENERAL ENVIRONMENTAL SERVICES                                      Contingent
          930 EASTERN AVENUE                                                  Unliquidated
          Malden, MA 02148                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $518.72
          GLOUCESTER RENTAL CENTER INC                                        Contingent
          32 MAPLEWOOD AVE                                                    Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $800.30
          GLUE-FAST EQUIPMENT CO. INC                                         Contingent
          3535 RT 66                                                          Unliquidated
          BLDG 1                                                              Disputed
          Neptune, NJ 07753
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,032,599.50
          GOOD LUCK PRODUCT CO. LTD.
          69/9 MOO 1 EKACHAR RD                                               Contingent
          T THAJEAN MUANG                                                     Unliquidated
          SAMUTSAKOM 74000                                                    Disputed
          THAILAND
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,000.00
          GOURMET TOAST CORP                                                  Contingent
          38 STEUBEN ST.                                                      Unliquidated
          Brooklyn, NY 11205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,598.26
          GRAPHIC PACKAGING INTL                                              Contingent
          SAP LOCKBOX                                                         Unliquidated
          PO BOX 404170                                                       Disputed
          Atlanta, GA 30384-4170
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $28,592.00
          GRASSO FOODS, INC                                                   Contingent
          P.O BOX 127                                                         Unliquidated
          Swedesboro, NJ 08085                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,267.19
          GRUNFELD DESIDERIO LEBOWITZ                                         Contingent
          SILVERMAN & KLESTADT LLP                                            Unliquidated
          599 LEXINGTON AVENUE, FL 36                                         Disputed
          New York, NY 10022-7648
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $32,316.56
          H&M TRANSPORT INC                                                   Contingent
          P.O. BOX 418578                                                     Unliquidated
          Boston, MA 02241-8578                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,893.00
          HALLEY ELEVATOR CO.                                                 Contingent
          11 TYNG STREET                                                      Unliquidated
          Newburyport, MA 01950                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,200.00
          Harris County Texas                                                 Contingent
          Jan 1 2019 Excise Tax                                               Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,109.54
          HAYSSEN, INC                                                        Contingent
          HAYSSENSANDIACRE                                                    Unliquidated
          225 SPARTANGREEN BLVD                                               Disputed
          Duncan, SC 29334
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $840.00
          HIGGINS SCALE SERVICE                                               Contingent
          P.O. BOX 8472                                                       Unliquidated
          Salem, MA 01971                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $20.00
          HOME DEPOT
          CREDIT SERVICES                                                     Contingent
          DEPT 32-2505110779                                                  Unliquidated
          PO BOX 78047                                                        Disputed
          Phoenix, AZ 85062-8047
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $348.68
          HP HOOD LLC                                                         Contingent
          HP Hood LLC                                                         Unliquidated
          PO BOX 4060                                                         Disputed
          Gloucester, MA 01930
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,132.91
          HUGHES SALES, INC.                                                  Contingent
          9650 SANTIAGO ROAD                                                  Unliquidated
          SUITE 106                                                           Disputed
          Columbia, MD 21045
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          HYDRANGEA LANDSCAPING                                               Contingent
          P.O. Box 3232                                                       Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $356.36
          IMAGE COMMUNICATIONS                                                Contingent
          128K HALL ST                                                        Unliquidated
          Concord, NH 03301                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,228.88
          INFOR (US), INC                                                     Contingent
          NW 7418                                                             Unliquidated
          P.O. BOX 1450                                                       Disputed
          Minneapolis, MN 55485-7418
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          INFORMATION RESOURCES, INC                                          Contingent
          4766 PAYSPHERE CIRCLE                                               Unliquidated
          Chicago, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,900.51
          INGERSOLL-RAND                                                      Contingent
          15768 COLLECTIONS CENTER DRIVE                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $900.00
          INNOVATIVE LABEL                                                    Contingent
          PO BOX 731                                                          Unliquidated
          Germantown, WI 53022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,104.36
          INSTANT SIGNAL &ALARM CO., INC                                      Contingent
          303 HIGHLAND AVENUE                                                 Unliquidated
          Salem, MA 01970-1890                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $170.05
          INTEGRITY FOOD MARKETING                                            Contingent
          487 DEVON PARK DRIVE                                                Unliquidated
          SUITE 210                                                           Disputed
          Wayne, PA 19087
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,400.08
          INTERSTATE WAREHOUSING LLC                                          Contingent
          DEPT 78743                                                          Unliquidated
          P.O. BOX 78000                                                      Disputed
          Detroit, MI 48278-0743
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,044.63
          J&D TRANSPORTATION INC.                                             Contingent
          P.O. BOX 313                                                        Unliquidated
          Scituate, MA 02066                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $909.80
          JACK VENTOLA                                                        Contingent
          11-15 PARKER STREET                                                 Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,058.00
          JAQUITH CARBIDE CORP                                                Contingent
          31 TURNPIKE ROAD                                                    Unliquidated
          Ipswich, MA 01938                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $61,082.22
          JOHN BEAN TECHNOLOGIES CORP                                         Contingent
          7002 SOLUTIONS CENTER                                               Unliquidated
          Chicago, IL 60677-7000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,469.00
          JONES BOYS INSULATION                                               Contingent
          110 PERIMETER ROAD                                                  Unliquidated
          Nashua, NH 03063                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,814.40
          KERRY INGREDIENTS                                                   Contingent
          P.O. BOX 409141                                                     Unliquidated
          Atlanta, GA 30384-9141                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $595.26
          LEHIGH OUTFITTERS, LLC                                              Contingent
          EAST CANAL STREET                                                   Unliquidated
          Nelsonville, OH 45764                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,029.00
          LINDSKOG BALANCING                                                  Contingent
          1170 MASSACHUSETTS AVE                                              Unliquidated
          Boxborough, MA 01719                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $678.50
          LIVINGSTON                                                          Contingent
          150 PIERCE ROAD, SUITE 500                                          Unliquidated
          Itasca, IL 60143-1222                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $738.37
          LOFTWARE, INC.                                                      Contingent
          166 CORPORATE DRIVE                                                 Unliquidated
          Portsmouth, NH 03801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,472.50
          LOMA SYSTEMS, INC                                                   Contingent
          39425 TREASURY CENTER                                               Unliquidated
          Chicago, IL 60694-9400                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,268.67
          MAILFINANCE                                                         Contingent
          DEPT 3682                                                           Unliquidated
          PO BOX 123682                                                       Disputed
          Dallas, TX 75312-3682
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,680.06
          MARINE STEWARDSHIP COUNCIL
          MARINE HOUSE                                                        Contingent
          1 SNOW HILL                                                         Unliquidated
          LONDON, EC1A2DH                                                     Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $28,500.00
          MARITIME PRODUCTS INT.                                              Contingent
          P.O. BOX 120103                                                     Unliquidated
          Newport News, VA 23612                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $882.42
          MARKEM-IMAJE CORPORATION                                            Contingent
          P.O. BOX 3542                                                       Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,697.27
          MARKHAM METALS                                                      Contingent
          P. O. BOX 783                                                       Unliquidated
          Wilmington, MA 01887                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,161.00
          MASSACHUSETTS DEPT OF REVENUE                                       Contingent
          P.O. BOX 7089                                                       Unliquidated
          Boston, MA 02241-7089                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,546.84
          MASTER PACKAGING INC.
          333 ADELARD-SAVOIE BLVD                                             Contingent
          DIEPPE, NB                                                          Unliquidated
          E1A 7G9                                                             Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,542.70
          MCDERMOTT WILL & EMERY LLP                                          Contingent
          P.O. BOX 6043                                                       Unliquidated
          Chicago, IL 60680-6043                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $56,965.32
          MEGACORP LOGISTICS, LLC                                             Contingent
          P.O. BOX 1050                                                       Unliquidated
          Wrightsville Beach, NC 28480                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $420.00
          MERRIMACK ENVIRONMENTAL LLC                                         Contingent
          61 LINCOLNSHIRE DRIVE                                               Unliquidated
          Haverhill, MA 01835                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,278.12
          METHUEN CORPORATION                                                 Contingent
          POLLUTION CONTROL SYSTEM MAINT                                      Unliquidated
          31 TOBEY AVE                                                        Disputed
          Methuen, MA 01844
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $306,555.13
          NATIONAL GRID                                                       Contingent
          P.O. BOX 11737                                                      Unliquidated
          Newark, NJ 07101-4735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $109.04
          NEOPOST INC.                                                        Contingent
          p.o. box 30193                                                      Unliquidated
          Tampa, FL 33630-3193                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $283.28
          NEW ENGLAND FIRE PATROL                                             Contingent
          117 LANCASTER STREET                                                Unliquidated
          Quincy, MA 02169                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $67,581.39
          NEW SOUND TRANSPORTATION, LLC                                       Contingent
          c/o ORANGE COMMERCIAL CREDIT                                        Unliquidated
          P.O. BOX 11099                                                      Disputed
          Olympia, WA 98508-1099
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,763.26
          NORTHEAST ELECTRICAL                                                Contingent
          DISTRIBUTERS                                                        Unliquidated
          P.O. BOX 415931                                                     Disputed
          Boston, MA 02241-5931
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $628.50
          NORTHEAST ENVIRONMENTAL                                             Contingent
          LABORATORY, INC                                                     Unliquidated
          41 DAYTON STREET                                                    Disputed
          Danvers, MA 01923
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,862.93
          NORTHLAND INDUSTRIAL TRUCK INC                                      Contingent
          P.O. BOX 845534                                                     Unliquidated
          Boston, MA 02284-5534                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,537.29
          NOTHUM MANUFACTURING CO. INC.                                       Contingent
          1368 E. KINGSLEY STREET                                             Unliquidated
          STE C                                                               Disputed
          Springfield, MO 65804
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,147.25
          NRC EAST ENVIRONMENTAL                                              Contingent
          SERVICES, INC                                                       Unliquidated
          19 NATIONAL DRIVE                                                   Disputed
          Franklin, MA 02038
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $136,158.29
          NSDJ REAL ESTATE, LLC                                               Contingent
          613 PLEASANT STREET                                                 Unliquidated
          East Weymouth, MA 02189                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $80,102.09
          NU PRODUCTS SEASONING CO.                                           Contingent
          20 POTASH ROAD                                                      Unliquidated
          Oakland, NJ 07436                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $72.60
          NWD INCORPORATED                                                    Contingent
          100 DUCHAINE BOULEVARD                                              Unliquidated
          P.O. BOX 50821                                                      Disputed
          New Bedford, MA 02745
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,716.26
          OCEAN EXPRESS LLC                                                   Contingent
          60 MEAD STREET                                                      Unliquidated
          Seekonk, MA 02771                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $529,977.04
          OCEAN INCORPORATION LIMITED
          TUNG CHE COMM CENTRE                                                Contingent
          ROOM 2308                                                           Unliquidated
          246 DES VOEUX ROAD WEST                                             Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,000.00
          OCEAN RIDGE CAPITAL                                                 Contingent
          ADVISORS, LLC                                                       Unliquidated
          56 HARRISON ST., SUITE 203A                                         Disputed
          New Rochelle, NY 10801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,801.00
          OCEAN STAR DEVELOPMENT INC                                          Contingent
          15/B-15/F CHEUK NANG PLAZA                                          Unliquidated
          250 HENNESSY ROAD                                                   Disputed
          HONG KONG
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $50,837.49
          ONE KONDELIN ROAD, LLC                                              Contingent
          C/O STAVROS AGGANIS                                                 Unliquidated
          394 LINCOLN AVENUE                                                  Disputed
          Saugus, MA 01906
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,209.35
          OOCL                                                                Contingent
          4782 PAYSPHERE CIRCLE                                               Unliquidated
          Chicago, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,745.60
          ORNUA INGREDIENTS NA                                                Contingent
          n7630 COUNTY HIGHWAY BB                                             Unliquidated
          Hilbert, WI 54129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,123.26
          OT Deliveries                                                       Contingent
          4 Briarcliff Dr                                                     Unliquidated
          Monsey, NY 10952                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $566.20
          PATRIOT PLASTICS, INC.                                              Contingent
          16 FOWLE STREET                                                     Unliquidated
          Woburn, MA 01801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,274.25
          PEARCE PROCESSING SYSTEMS, INC                                      Contingent
          P.O. BOX 386                                                        Unliquidated
          Beverly, MA 01915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $210.90
          PERISHABLE SALES INC.                                               Contingent
          165 HANSON COURT                                                    Unliquidated
          Wood Dale, IL 60191                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Fish and Seafood Inc.                                                          Case number (if known)
              Name

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $123,943.04
          POLA MINERALS LTD
          FACTORY ROAD                                                        Contingent
          BLAYDON ON TYNE                                                     Unliquidated
          TYNE & WEAR NE215SA                                                 Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $350.00
          PQ SYSTEMS                                                          Contingent
          P.O. BOX 750010                                                     Unliquidated
          Dayton, OH 45475-0010                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,149.25
          PREFERRED CHICAGO III, LLC                                          Contingent
          2357 S. WOOD STREET                                                 Unliquidated
          Chicago, IL 60608                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $237.15
          PREFERRED FREEZER ATLANTA WEST                                      Contingent
          737 DOUGLAS HILL ROAD                                               Unliquidated
          Lithia Springs, GA 30122                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $5.00
          PREFERRED FREEZER SERVICES LLC                                      Contingent
          536 FAYETTE STREET                                                  Unliquidated
          Perth Amboy, NJ 08861                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,967.00
          PREMIER SALES SOLUTIONS - WEST                                      Contingent
          PO BOX 776111                                                       Unliquidated
          Chicago, IL 60677-6111                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,810.75
          PREVARE LLC                                                         Contingent
          100 CUMMINGS CENTER                                                 Unliquidated
          Beverly, MA 01915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $346.96
          PROTECTION ONE                                                      Contingent
          P.O BOX 219044                                                      Unliquidated
          Kansas City, MO 64121-9044                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $280,000.00
          PT Bumi Menara Interusa
          Kurt Olson                                                          Contingent
          Olson & Olson P.A.                                                  Unliquidated
          500 Federal Street                                                  Disputed
          Andover, MA 01810
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,799.00
          PV TRANSPORT INC                                                    Contingent
          ATT: ACCOUNTS RECEIVABLE                                            Unliquidated
          P.O. BOX 900                                                        Disputed
          Hatfield, PA 19440-0900
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,200.00
          PYRAMID TRANSPORT INC                                               Contingent
          18119 SUSSEX HIGHWAY, UNIT 2                                        Unliquidated
          Bridgeville, DE 19933                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $195.00
          QUADRANT HEALTH SERVICES, INC                                       Contingent
          500 CUMMINGS CENTER S-4350                                          Unliquidated
          Beverly, MA 01915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $418.15
          R. JAY & ASSOCIATES                                                 Contingent
          PO BOX 390                                                          Unliquidated
          WEEDSPORT, NY 13116                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $314.53
          READY REFRESH BY NESTLE
          A DIVISION OF NESTLE WATERS                                         Contingent
          NORTH AMERICA INC.                                                  Unliquidated
          P.O. BOX 856192                                                     Disputed
          Louisville, KY 40285-6192
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $16,958.13
          RECONSERVE OF NEW JERSEY, INC                                       Contingent
          26607 NETWORK PLACE                                                 Unliquidated
          Chicago, IL 60673-1266                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $18,330.00
          REDDY RAW                                                           Contingent
          1 ETHEL BLVD                                                        Unliquidated
          Wood Ridge, NJ 07075                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $96,600.00
          REGAL SPRINGS TRADING CO                                            Contingent
          PO BOX 850001 - FRESH FISH                                          Unliquidated
          Orlando, FL 32885-0183                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,086.83
          RIPTIDE FOODS                                                       Contingent
          32980 ALVARADO NILES RD.                                            Unliquidated
          SUITE 810                                                           Disputed
          Union City, CA 94587
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,337.09
          ROD INTERNATIONAL                                                   Contingent
          5701 S. EASTERN AVENUE                                              Unliquidated
          SUITE 245                                                           Disputed
          Los Angeles, CA 90040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,000.00
          RONALD POTORSKI                                                     Contingent
          15 NICKERSON ROAD                                                   Unliquidated
          Peabody, MA 01960                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,643.24
          S.BERTRAM INC.                                                      Contingent
          3401 TREMLEY POINT ROAD                                             Unliquidated
          Linden, NJ 07036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $173.00
          SCHERZER & ASSOCIATES                                               Contingent
          8801 BALLENTINE ST                                                  Unliquidated
          SUITE 100                                                           Disputed
          Overland Park, KS 66214
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,914.09
          SCOTT ENERGY CO. INC.                                               Contingent
          P.O. BOX 1429                                                       Unliquidated
          Gloucester, MA 01931-1429                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,333.33
          SEAFAX                                                              Contingent
          P.O. BOX 15340                                                      Unliquidated
          Portland, ME 04112-5340                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          Second Floor clearning                                              Contingent
          Second floor clearing for week ending 4/                            Unliquidated
          Date(s) debt was incurred                                           Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,078.18
          SHANKLIN CORPORATION                                                Contingent
          P.O.BOX 406735                                                      Unliquidated
          Atlanta, GA 30384-6735                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $253.20
          SHS LLC                                                             Contingent
          TY PAZIAN                                                           Unliquidated
          11025 BLANCHARD RD                                                  Disputed
          Holland, NY 14080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,612.50
          SIEGEL EGG COMPANY                                                  Contingent
          SIEGEL EGG COMPANY                                                  Unliquidated
          90 SALEM ROAD                                                       Disputed
          North Billerica, MA 01862
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,071.78
          SILVA BROS. PLUMBING &                                              Contingent
          HEATING INC.                                                        Unliquidated
          10 CLEVELAND PLACE                                                  Disputed
          Gloucester, MA 01930
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,922.11
          SOMMER MAID CREAMERY                                                Contingent
          6069 KELLERS CHURCH ROAD                                            Unliquidated
          PIPERSVILLE, PA 18901                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $175.32
          SPEEDWAY WELDING SUPPLY                                             Contingent
          160 COUNTY ROAD                                                     Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,658.04
          SPIRIT TRANSPORT                                                    Contingent
          6 BARNES CIRCLE                                                     Unliquidated
          Salem, MA 01970                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,020.29
          SPIRIT TRANSPORT INC.                                               Contingent
          6 BARNES CIRCLE                                                     Unliquidated
          Salem, MA 01970                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,150.31
          SPRINT SOLUTIONS INC.                                               Contingent
          P.O. BOX 54977                                                      Unliquidated
          Los Angeles, CA 90054-0977                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $70,000.00
          SSG ADVISORS, LLC                                                   Contingent
          300 BARR HARBOR DRIVE,                                              Unliquidated
          5 TOWER BRIDGE, SUITE 420                                           Disputed
          WEST CONSHOHOCKEN, PA 19428
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,720.23
          STAPLES ADVANTAGE                                                   Contingent
          DEPT BOS                                                            Unliquidated
          P.O. BOX 105638                                                     Disputed
          Atlanta, GA 30348-5638
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $400.00
          STATE OF VERMONT
          VERMONT AGENCY OF NATURAL                                           Contingent
          RESOURCES                                                           Unliquidated
          1 NATIONAL LIFE DRIVE, MAIN 2                                       Disputed
          Montpelier, VT 05620-3521
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,584.24
          STEWART-HUNT, INC                                                   Contingent
          P.O. BOX 227                                                        Unliquidated
          Portland, ME 04112-0227                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $67,131.23
          STROZ FRIEDBERG, LLC                                                Contingent
          32 AVENUE OF THE AMERICAS                                           Unliquidated
          4TH FLOOR                                                           Disputed
          New York, NY 10013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $15,645.00
          SUNNYVALE SEAFOOD                                                   Contingent
          2910 FABER ST                                                       Unliquidated
          Union City, CA 94587                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,102.44
          T. HASEGAWA USA INC                                                 Contingent
          14017 E. 183RD STREET                                               Unliquidated
          Cerritos, CA 90703                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,000.00
          TALLY'S                                                             Contingent
          2 WASHINGTON STREET                                                 Unliquidated
          Gloucester, MA 01930                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,147.37
          THE NIELSEN COMPANY                                                 Contingent
          P.O. BOX 88956                                                      Unliquidated
          Chicago, IL 60695-8956                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,580.00
          THE WESTIN BOSTON WATERFRONT                                        Contingent
          425 SUMMER ST                                                       Unliquidated
          Boston, MA 02210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,570.09
          TOTAL QUALITY LOGISTICS                                             Contingent
          P.O. BOX 634558                                                     Unliquidated
          Cincinnati, OH 45263-4558                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,008.00
          TOTAL QUALITY LOGISTICS, INC                                        Contingent
          P.O. BOX 634558                                                     Unliquidated
          Cincinnati, OH 45263-4558                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $241.64
          TRUCKCOURIER, INC.                                                  Contingent
          P.O. BOX 2760                                                       Unliquidated
          52 DRAGON COURT                                                     Disputed
          Woburn, MA 01888
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $808.11
          ULTRASOURCE LLC                                                     Contingent
          1414 WEST 29TH STREET                                               Unliquidated
          Kansas City, MO 64108-3604                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $255,884.43
          UNITED STATES TREASURY                                              Contingent
          INTERNAL REVENUE SERVICE                                            Unliquidated
          Cincinnati, OH 45999-0039                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       National Fish and Seafood Inc.                                                          Case number (if known)
              Name

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,424.90
          UNIVERSAL POULTRY PRODUCTS                                          Contingent
          25 COLPITTS RD                                                      Unliquidated
          P.O. BOX 135                                                        Disputed
          Weston, MA 02493
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,636.00
          URNER BARRY PUBLICATIONS, INC                                       Contingent
          P.O. BOX 389                                                        Unliquidated
          Toms River, NJ 08754-0389                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,853.90
          USI INSURANCE SERVICES LLC                                          Contingent
          P.O. BOX 62937                                                      Unliquidated
          Virginia Beach, VA 23466                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $43.78
          VERIZON NY                                                          Contingent
          P.O. BOX 15124                                                      Unliquidated
          Albany, NY 12212-5124                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $17,518.38
          VERSACOLD LOGISICS
          P.O. BOX 6428                                                       Contingent
          STATION TERMINAL                                                    Unliquidated
          VANCOUVER, BC V6B6R3                                                Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,963.02
          VERSACOLD LOGISTIC SERVICES UL
          P.O. BOX 6428                                                       Contingent
          STATION TERMINAL                                                    Unliquidated
          VANCOUVER, BC V6B6R3                                                Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $617.68
          W. B. MASON CO., INC.                                               Contingent
          P.O. BOX 981101                                                     Unliquidated
          Boston, MA 02298-1101                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $457.69
          WASTE MANAGEMENT                                                    Contingent
          OF MASSACHUSETTS                                                    Unliquidated
          P.O. BOX 13648                                                      Disputed
          Philadelphia, PA 19101-3648
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,980.62
          WELLS FARGO EQUIPMENT FINANCE                                       Contingent
          MANUFACTURER SERVICES GROUP                                         Unliquidated
          P.O. BOX 7777                                                       Disputed
          San Francisco, CA 94120-7777
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,028.30
          WESTROCK COMPANY OF CANADA INC
          433, 2 E AVENUE                                                     Contingent
          SAINT MARIE, QUEBEC                                                 Unliquidated
          G6E 3H2                                                             Disputed
          CANADA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $295.68
          WILCOX MARKETING, INC.                                              Contingent
          701 EDGEWOOD ROAD                                                   Unliquidated
          PO BOX 1019                                                         Disputed
          Wilkesboro, NC 28697
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,726.64
          WILLIAMSON NEW ENGLAND                                              Contingent
          P.O. BOX 6265                                                       Unliquidated
          Chelsea, MA 02150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,634.32
          WIND RIVER ENVIRONMENTAL, LLC                                       Contingent
          46 LIZOTTE DR SUITE 1000\line                                       Unliquidated
          Marlborough, MA 01752                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,480.50
          WORLDWIDE EXPRESS                                                   Contingent
          PO BOX 21272                                                        Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.218     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $675.81
           WS PACKAGING GROUP                                                 Contingent
           7500 INDUSTRIAL ROW DRIVE                                          Unliquidated
           Mason, OH 45040-1307                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $910.41
           ZEP MANUFACTURING COMPANY                                          Contingent
           P.O. BOX 3338                                                      Unliquidated
           Boston, MA 02241-3338                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $70,204.00
           ZHOU INTERNATIONAL CORP                                            Contingent
           4200 FACTONIA BLVD SE                                              Unliquidated
           SUITE B11                                                          Disputed
           Bellevue, WA 98006
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Crustrade PTE LTD
           101 Cecil Street                                                                           Line     3.47
           #10-01 Tong East Building
           Singapore 069533                                                                                 Not listed. Explain


 4.2       Howard Rosenberg
           Kreinces & Rosenberg, P.C.                                                                 Line     3.67
           900 Merchants Concourse, Suite 305
           Westbury, NY 11590                                                                               Not listed. Explain


 4.3       McCarthy Burgess & Wolf
           c/o Teri Scharf                                                                            Line     3.188
           26000 Cannon Road
           Bedford, OH 44146                                                                                Not listed. Explain


 4.4       PT Bumi Menara Internusa
           Jalan Margomulyo 4E                                                                        Line     3.163
           Surabaya, East Java 60187
           Indonesia                                                                                        Not listed. Explain


 4.5       U.S. Customs and Border Protection
           1300 Pennsylvania Avenue, N.W.                                                             Line     2.34
           Washington, DC 20229
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts


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 5a. Total claims from Part 1                                                                       5a.       $           7,363,885.29
 5b. Total claims from Part 2                                                                       5b.   +   $           8,988,149.11

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $           16,352,034.40




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 Fill in this information to identify the case:

 Debtor name         National Fish and Seafood Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Truck Lease dated
              lease is for and the nature of              October 18, 2018
              the debtor's interest

                  State the term remaining
                                                                                     Abel Womack
              List the contract number of any                                        One International Way
                    government contract                                              Lawrence, MA 01843


 2.2.         State what the contract or                  Equipment Master
              lease is for and the nature of              Lease Agreement dated
              the debtor's interest                       January 18, 2018

                  State the term remaining
                                                                                     Abel Womack
              List the contract number of any                                        One International Way
                    government contract                                              Lawrence, MA 01843


 2.3.         State what the contract or                  Adobe Creative Cloud
              lease is for and the nature of              Subscription dated
              the debtor's interest                       December 31, 2018

                  State the term remaining
                                                                                     Adobe Inc.
              List the contract number of any                                        345 Park Avenue
                    government contract                                              San Jose, CA 95110-2704


 2.4.         State what the contract or                  Master Purchase
              lease is for and the nature of              Agreement with ALDI
              the debtor's interest                       Corporate Buying
                                                          dated November 8,
                                                          2012
                  State the term remaining
                                                                                     ALDI, Inc.
              List the contract number of any                                        1200 North Kirk Road
                    government contract                                              Batavia, IL 60510-1477




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 Debtor 1 National Fish and Seafood Inc.                                                       Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Purchasing Contract
             lease is for and the nature of               dated as of June 7,
             the debtor's interest                        2018

                  State the term remaining
                                                                                       ALDI, Inc.
             List the contract number of any                                           1200 North Kirk Road
                   government contract                                                 Batavia, IL 60510-1477


 2.6.        State what the contract or                   Services letter dated
             lease is for and the nature of               January 15, 2018
             the debtor's interest

                  State the term remaining
                                                                                       Alpha Chemical Services
             List the contract number of any                                           46 Morton Street
                   government contract                                                 Stoughton, MA 02072


 2.7.        State what the contract or                   Salary Increase Letter
             lease is for and the nature of               dated August 15, 2018
             the debtor's interest

                  State the term remaining
                                                                                       Andrew Marenghi
             List the contract number of any                                           8 Columbia Road
                   government contract                                                 Beverly, MA 01915


 2.8.        State what the contract or                   Multiple purchase
             lease is for and the nature of               orders nos. 276988,
             the debtor's interest                        276989, 277793-97.
                                                          277794. 277797, 277797
                  State the term remaining
                                                                                       Arrow Paper Corp.
             List the contract number of any                                           228 Andover Street
                   government contract                                                 Wilmington, MA 01887


 2.9.        State what the contract or                   Commission
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                             Barry Shindler
                                                                                       Five Star Kosher
             List the contract number of any                                           1085 East 3rd Street
                   government contract                                                 Brooklyn, NY 11230


 2.10.       State what the contract or                   Assignment of
             lease is for and the nature of               Developments,
             the debtor's interest                        Non-Disclosure,
                                                          Non-Competition and
                                                          Non-Solicitation             Benjamin Schwartz
                                                          Agreement dated              112 Mount Pleasant Street
                                                          August 10, 2018              Gloucester, MA 01930
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Preferred Vendor
             lease is for and the nature of               Agreement dated July
             the debtor's interest                        1, 2011

                  State the term remaining
                                                                                      C&S Wholesale Grocers, Inc.
             List the contract number of any                                          7 Corporate Drive
                   government contract                                                Keene, NH 03431


 2.12.       State what the contract or                   Crossroads Program
             lease is for and the nature of               Agreement dated
             the debtor's interest                        September 26, 2012

                  State the term remaining
                                                                                      C&S Wholesale Grocers, Inc.
             List the contract number of any                                          7 Corporate Drive
                   government contract                                                Keene, NH 03431


 2.13.       State what the contract or                   Letter Agreement dated
             lease is for and the nature of               as of October 2, 2012
             the debtor's interest

                  State the term remaining
                                                                                      C&S Wholesale Grocers, Inc.
             List the contract number of any                                          7 Corporate Drive
                   government contract                                                Keene, NH 03431


 2.14.       State what the contract or                   Products and Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        February 1, 2018

                  State the term remaining
                                                                                      Cascade Water Services
             List the contract number of any                                          113 Bloomingdale Road
                   government contract                                                Hicksville, NY 11801


 2.15.       State what the contract or                   Letter Agreement dated
             lease is for and the nature of               January 22, 2018
             the debtor's interest

                  State the term remaining
                                                                                      Cascade Water Services
             List the contract number of any                                          113 Bloomingdale Road
                   government contract                                                Hicksville, NY 11801




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Sales Contract #292932
             lease is for and the nature of               dated July 5, 2018
             the debtor's interest

                  State the term remaining
                                                                                     Catania Oils
             List the contract number of any                                         3 Nemco Way
                   government contract                                               Ayer, MA 01432-0227


 2.17.       State what the contract or                   Sales Contract #296092
             lease is for and the nature of               dated September 5,
             the debtor's interest                        2018

                  State the term remaining
                                                                                     Catania Oils
             List the contract number of any                                         3 Nemco Way
                   government contract                                               Ayer, MA 01432-0227


 2.18.       State what the contract or                   Sales Contract #299013
             lease is for and the nature of               dated October 29, 2018
             the debtor's interest

                  State the term remaining
                                                                                     Catania Oils
             List the contract number of any                                         3 Nemco Way
                   government contract                                               Ayer, MA 01432-0227


 2.19.       State what the contract or                   Sales Contract #299468
             lease is for and the nature of               dated November 6,
             the debtor's interest                        2018

                  State the term remaining
                                                                                     Catania Oils
             List the contract number of any                                         3 Nemco Way
                   government contract                                               Ayer, MA 01432-0227


 2.20.       State what the contract or                   Sales Contract #299484
             lease is for and the nature of               dated November 6,
             the debtor's interest                        2018

                  State the term remaining
                                                                                     Catania Oils
             List the contract number of any                                         3 Nemco Way
                   government contract                                               Ayer, MA 01432-0227


 2.21.       State what the contract or                   Planned Maitenance
             lease is for and the nature of               Service Agreement
             the debtor's interest                        dated September 19,
                                                          2018
                  State the term remaining                                           Crown Equipment Corporation
                                                                                     P.O. Box 641173
             List the contract number of any                                         Cincinnati, OH 45264-1173
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.22.       State what the contract or                   Closed End Motor
             lease is for and the nature of               Vehicle Lease
             the debtor's interest                        Agreement dated June
                                                          4, 2016
                  State the term remaining
                                                                                       Danvers-T, Inc.
             List the contract number of any                                           998 Andover Street
                   government contract                                                 Danvers, MA 01923


 2.23.       State what the contract or                   Confidentiality and
             lease is for and the nature of               Non-Disclosure
             the debtor's interest                        Agreement

                  State the term remaining
                                                                                       Dr. Praeger's Purely Sensible Foods Inc.
             List the contract number of any                                           9 Boumar Place
                   government contract                                                 Elmwood Park, NJ 07407


 2.24.       State what the contract or                   Staffing Services
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 3, 2018

                  State the term remaining
                                                                                       E.D.A. Inc.
             List the contract number of any                                           P.O. Box 328
                   government contract                                                 Mansfield, MA 02048


 2.25.       State what the contract or                   Purchase Order 10070
             lease is for and the nature of               dated April 10, 2018
             the debtor's interest

                  State the term remaining
                                                                                       EBP Supply Solutions Inc.
             List the contract number of any                                           200 Research Drive
                   government contract                                                 Milford, CT 06460


 2.26.       State what the contract or                   Integrated Pest
             lease is for and the nature of               Prevention Program
             the debtor's interest                        Agreement dated July
                                                          2, 2018
                  State the term remaining
                                                                                       General Environmental Services, Inc.
             List the contract number of any                                           930R Eastern Avenue
                   government contract                                                 Malden, MA 02148


 2.27.       State what the contract or                   Mutual Confidentiality
             lease is for and the nature of               and Non-Disclosure           Gortons Inc.
             the debtor's interest                        Agreement dated April        128 Rogers Street
                                                          25, 2007                     Gloucester, MA 01930
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.28.       State what the contract or                   Purchase Order Terms
             lease is for and the nature of               and Conditions dated
             the debtor's interest                        January 24, 2018

                  State the term remaining
                                                                                      Gortons Inc.
             List the contract number of any                                          128 Rogers Street
                   government contract                                                Gloucester, MA 01930


 2.29.       State what the contract or                   Confidentiality
             lease is for and the nature of               Agreement dated April
             the debtor's interest                        27, 2008

                  State the term remaining
                                                                                      Gortons Inc.
             List the contract number of any                                          128 Rogers Street
                   government contract                                                Gloucester, MA 01930


 2.30.       State what the contract or                   Letter Agreement dated
             lease is for and the nature of               February 8, 2018
             the debtor's interest

                  State the term remaining
                                                                                      Gortons Inc.
             List the contract number of any                                          128 Rogers Street
                   government contract                                                Gloucester, MA 01930


 2.31.       State what the contract or                   Sales Contract No.
             lease is for and the nature of               061518-5; dated June
             the debtor's interest                        15, 2018

                  State the term remaining
                                                                                      Grasso Foods Inc.
             List the contract number of any                                          9 Ogden Road
                   government contract                                                Swedesboro, NJ 08085


 2.32.       State what the contract or                   Sales Contract No.
             lease is for and the nature of               071117-1; dated July
             the debtor's interest                        11, 2017

                  State the term remaining
                                                                                      Grasso Foods Inc.
             List the contract number of any                                          9 Ogden Road
                   government contract                                                Swedesboro, NJ 08085




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 Debtor 1 National Fish and Seafood Inc.                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.33.       State what the contract or                   Sales Contract No.
             lease is for and the nature of               061518-5 dated July 15,
             the debtor's interest                        2018

                  State the term remaining
                                                                                        Grasso Foods Inc.
             List the contract number of any                                            9 Ogden Road
                   government contract                                                  Swedesboro, NJ 08085


 2.34.       State what the contract or                   Purchase Order Nos.
             lease is for and the nature of               10060, 10078, 10079,
             the debtor's interest                        10080, 10081, 10083,
                                                          10094, and 10095
                  State the term remaining
                                                                                        Hub Folding Box Co., Inc.
             List the contract number of any                                            774 Norfolk Street
                   government contract                                                  Mansfield, MA 02048


 2.35.       State what the contract or                   Purchase Order Nos.
             lease is for and the nature of               10073, 10077, 10086,
             the debtor's interest                        and 10093

                  State the term remaining
                                                                                        Innovative Plastics Corp.
             List the contract number of any                                            400 NY-303
                   government contract                                                  Orangeburg, NY 10962


 2.36.       State what the contract or                   Services Agreement
             lease is for and the nature of               dated July 1, 2018
             the debtor's interest

                  State the term remaining
                                                                                        J.R.M. Hauling & Recycling
             List the contract number of any                                            265 Newbury Street
                   government contract                                                  Peabody, MA 01960-1315


 2.37.       State what the contract or                   Salary Increase Letter
             lease is for and the nature of               dated August 15, 2018
             the debtor's interest

                  State the term remaining
                                                                                        Jason Brown
             List the contract number of any                                            155 Washington Street
                   government contract                                                  Salem, MA 01970


 2.38.       State what the contract or                   Lease for
             lease is for and the nature of               approximately 13,312
             the debtor's interest                        sq. ft. of office space
                                                          located on the second
                                                          level of 11-15 Parker         JIMARY Land Trust LLC
                                                          Street, Gloucester, MA        P.O. Box 206
                  State the term remaining                                              Gloucester, MA 01930
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 7 of 10
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 Debtor 1 National Fish and Seafood Inc.                                                     Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.39.       State what the contract or                   Assignment of
             lease is for and the nature of               Developments,
             the debtor's interest                        Non-Disclosure,
                                                          Non-Competition and
                                                          Non-Solicitation
                                                          Agreement dated June
                                                          30, 2018
                  State the term remaining
                                                                                     Lauren Satterfield
             List the contract number of any                                         13 Homestead Ct.
                   government contract                                               Saint Charles, MO 63303


 2.40.       State what the contract or                   Purchase Agreement
             lease is for and the nature of               dated November 11,
             the debtor's interest                        2012

                  State the term remaining
                                                                                     Mac Acquisition L.L.C.
             List the contract number of any                                         6820 LBJ Freeway
                   government contract                                               Dallas, TX 75240


 2.41.       State what the contract or                   Volume Commitment
             lease is for and the nature of               and Pricing Contract
             the debtor's interest                        dated December 17,
                                                          2018
                  State the term remaining
                                                                                     Newly Weds Foods
             List the contract number of any                                         4140 W. Fulerton Avenue
                   government contract                                               Chicago, IL 60639


 2.42.       State what the contract or                   Volume Commitment
             lease is for and the nature of               and Pricing Contract
             the debtor's interest                        dated Dece,ber 17, 2018

                  State the term remaining
                                                                                     Newly Weds Foods
             List the contract number of any                                         4140 W. Fulerton Avenue
                   government contract                                               Chicago, IL 60639


 2.43.       State what the contract or                   Scheduled
             lease is for and the nature of               Maintenance Service
             the debtor's interest                        Agreement dated
                                                          February 14, 2018
                  State the term remaining                                           Nitco Fleet Services
                                                                                     c/o Northland Indus. Truck Co., Inc.
             List the contract number of any                                         6 Jonspin Road
                   government contract                                               Wilmington, MA 01887

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 Debtor 1 National Fish and Seafood Inc.                                                        Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease


 2.44.       State what the contract or                   Rental Agreement
             lease is for and the nature of               dated October 24, 2011
             the debtor's interest

                  State the term remaining
                                                                                        North Shore Mini Storage, Inc.
             List the contract number of any                                            444 Essex Avenue
                   government contract                                                  Gloucester, MA 01930


 2.45.       State what the contract or                   Lease for
             lease is for and the nature of               approximately 171,992
             the debtor's interest                        sq. ft. of space in the
                                                          warehouse buildings
                                                          located at 159 East
                                                          Main Street,
                                                          Gloucester, MA.
                  State the term remaining
                                                                                        NSDJ Real Estate LLC
             List the contract number of any                                            613 Pleasant Street
                   government contract                                                  East Weymouth, MA 02189


 2.46.       State what the contract or                   Lease for
             lease is for and the nature of               approximately 49,000
             the debtor's interest                        sq. ft. of industrial
                                                          space within the
                                                          premises located at 1
                                                          Kondelin Road,
                                                          Gloucester, MA
                  State the term remaining                                              One Kondelin Road Realty Trust
                                                                                        c/o Stavros Agganis
             List the contract number of any                                            394 Lincoln Avenue
                   government contract                                                  Saugus, MA 01906


 2.47.       State what the contract or                   Purchase Order No.
             lease is for and the nature of               10089 dated October
             the debtor's interest                        19, 2018

                  State the term remaining                                              Oxford Graphics LLC
                                                                                        P.O. Box 1000
             List the contract number of any                                            Dept. #00014
                   government contract                                                  Memphis, TN 38148-8011


 2.48.       State what the contract or                   Equipment Master
             lease is for and the nature of               Lease Agreement dated
             the debtor's interest                        April 5, 2018

                  State the term remaining
                                                                                        Raymond Leasing Corporation
             List the contract number of any                                            22 South Canal Street
                   government contract                                                  Greene, NY 13778



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 9 of 10
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 Debtor 1 National Fish and Seafood Inc.                                                     Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.49.       State what the contract or                   Leases on one Toyota
             lease is for and the nature of               Tundra and one Toyota
             the debtor's interest                        RAV4

                  State the term remaining
                                                                                     Toyota Financial Services
             List the contract number of any                                         P.O. Box 22202
                   government contract                                               Owings Mills, MD 21117-1397


 2.50.       State what the contract or                   Volume Rebate Letter
             lease is for and the nature of               Agreement dated
             the debtor's interest                        February 9, 2018

                  State the term remaining
                                                                                     Unicorr Packaging Group
             List the contract number of any                                         455 Sackett Point Road
                   government contract                                               North Haven, CT 06473


 2.51.       State what the contract or                   Online Supplier
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining

             List the contract number of any                                         Walmart Inc.
                   government contract


 2.52.       State what the contract or                   Single Sided Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        February 5, 2018

                  State the term remaining                                           Wells Fargo Bank N.A.
                                                                                     300 Tri-State International
             List the contract number of any                                         Suite 400
                   government contract                                               Lincolnshire, IL 60069


 2.53.       State what the contract or                   Lease agreement dated
             lease is for and the nature of               March 1, 2018; No.
             the debtor's interest                        301-0345835-002

                  State the term remaining                                           Wells Fargo Equipment Finance
                                                                                     300 Tri-State International
             List the contract number of any                                         Suite 400
                   government contract                                               Lincolnshire, IL 60069




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                                                                  Document     Page 77 of 77
 Fill in this information to identify the case:

 Debtor name         National Fish and Seafood Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Jack Arthur                       FMC Devens                                       Cooperative                     D       2.3
             Ventola                           Federal Medical Center, Satellite Camp           Rabobank U.A., Hong              E/F
             (97550038)                        P.O. Box 879                                     Kong
                                                                                                                                G
                                               Ayer, MA 01432




    2.2      National Fish &                   32/F Hong Kong Plaza                             Cooperative                     D       2.3
             Seafood Limited                   188 Connaught Road West                          Rabobank U.A., Hong              E/F
                                               Hong Kong                                        Kong
                                                                                                                                G




    2.3      Pacific Andes                     32/F Hong Kong Plaza                             Cooperative                     D       2.3
             International                     188 Connaught Road West                          Rabobank U.A., Hong              E/F
             Holdings                          Hong Kong                                        Kong
                                                                                                                                G




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